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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------X
ARETHA CROSSON, individually and
as the representative of a class of
similarly situated persons,

                          Plaintiff,                         REPORT & RECOMMENDATION
                                                                  19 CV 200 (CBA)(LB)
        -against-

POPSOCKETS LLC,

                           Defendant.
-----------------------------------------------------X
BLOOM, United States Magistrate Judge:

         Plaintiff Aretha Crosson brings this action against defendant PopSockets LLC alleging

that popsockets.com, defendant’s website (the “Website”), is not accessible to those who are vision

impaired in violation of the Americans with Disabilities Act (“ADA”), the New York State Human

Rights Law, and the New York City Human Rights Law. On August 14, 2019, the parties filed a

motion for approval of their consent decree. ECF No. 9 (“Motion”); ECF No. 9-1 (“Consent

Decree”). The Honorable Carol B. Amon referred the parties’ motion to me for a Report and

Recommendation in accordance with 28 U.S.C. § 636(b). For the reasons set forth below, it is

respectfully recommended that the Consent Decree should be approved as modified herein.

                                              BACKGROUND

        This is but one of the hundreds of cases that have been filed in the Eastern and Southern

Districts of New York alleging that a business’s website is not ADA compliant. Dan M. Clark,

Law, NY Lawmakers Plan to Address Surge in ADA Website Accessibility Suits, N.Y.L.J., Apr.

24, 2019, https://www.law.com/newyorklawjournal/2019/04/24/ny-lawmakers-plan-to-address-

surge-in-ada-website-accessibility-suits/. Plaintiff is legally blind, and she uses her computer with

the assistance of screen-reading software. Compl. ¶¶ 2, 17. Defendant offers “consumers with

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access to an array of goods and services, including, the ability to view the various lines of mobile

devise [sic] grips, mounts, cases, and other related products, and make purchases[,] among other

features” on its Website, popsockets.com. Id. ¶¶ 5, 19. Plaintiff visited the Website, most recently

in December 2018, and claims that she was unable to independently complete her purchase due to

accessibility issues on the Website. Id. ¶¶ 19, 40. Plaintiff thus alleges that defendant discriminated

against her by operating a website that is inaccessible to vision impaired individuals, and

furthermore, has failed to correct the accessibility barriers. Id. at ¶¶ 7–8, 42–45.

                                         PROCEDURAL HISTORY

         Plaintiff filed the instant complaint against defendant on January 10, 2019. ECF No. 1. As

no proof of service on defendant had been filed within the ninety-day deadline under Federal Rule

of Civil Procedure Rule 4(m), the Court ordered plaintiff to show good cause why such service

had not been made. ECF No. 5. Plaintiff filed a letter regarding the late service of process on April

30, 2019. ECF No. 7. The parties then filed the instant motion for judicial approval of the consent

decree. ECF No. 9.

                                 TERMS OF THE CONSENT DECREE

         Pursuant to the parties’ Consent Decree, defendant agrees to several terms regarding

general nondiscrimination requirements and compliance with Title III of the ADA. Consent Decree

at 4–7. In particular, defendant agrees to “use Reasonable Efforts 1 to provide persons with a

disability . . . an equal opportunity to participate in or benefit from” resources on the Website as

well as agreeing to “use Reasonable Efforts to ensure that persons with a disability . . . are not



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  “Reasonable Efforts, as defined by the parties, are “the efforts that a reasonable person or entity in Defendant’s
position would use to achieve the goal or obligation. . . . Reasonable Efforts shall be interpreted so as to not require
Defendant to undertake efforts regarding the cost, difficulty or impact on the Website, of which [efforts] could
constitute an undue burden, as defined in Title III of the ADA . . . or which efforts could result in a fundamental
alteration in the manner in which Defendant operates the Website – or the primary functions related thereto, or which
could result in a loss of revenue or traffic on its Website-related operations.” Consent Decree at 3.

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excluded . . . or otherwise treated differently because of the absence of auxiliary aids and services

[on the Website.]” Id. at 4.

         Defendant agrees to “modify the Website[] as needed to substantially conform to the Web

Content Accessibility Guidelines 2.0 and/or Web Content Accessibility Guidelines 2.1 Level A

and AA Success Criteria . . . or any other [Web Content Accessibility Guidelines] deemed to be

applicable” within eighteen months of Court approval of the Consent Decree. Id. at 5. If defendant

“is unable to achieve substantial conformance” with the Web Content Accessibility Guidelines

despite using Reasonable Efforts, defendant “shall be deemed to have satisfied its obligations

under this Consent Decree[.]” Id. at 6. Furthermore, in the event that a party fails to uphold its

obligations under the Consent Decree, the parties include “dispute resolution procedures.” Id. at

7–8.

                                          STANDARD OF REVIEW

         “Before entering a consent judgment, the district court must be certain that the decree 1)

‘spring[s] from and serve[s] to resolve a dispute within the court’s subject matter jurisdiction,’ 2)

‘come[s] within the general scope of the case made by the pleadings,’ and 3) ‘further[s] the

objectives of the law upon which the complaint was based.’” Kozlowski v. Coughlin, 871 F.2d

241, 244 (2d Cir. 1989) (citing Local Number 93, International Ass’n of Firefighters v. City of

Cleveland, 478 U.S. 501, 525 (1986)); see also Riverkeeper, Inc. v. MLV Concrete Inc., No. 14-

CV-3762 (LDH)(PK), 2017 WL 3172897, at *2 (E.D.N.Y. June 26, 2017) (same); Figueroa v.

Arhaus, LLC, No. 18 Civ. 10491 (GWG) (S.D.N.Y. Feb. 20, 2019), ECF No. 16 (applying standard

in an identical ADA action to approve a consent decree between private parties).2


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  The parties request that the Court approve the Consent Decree if it is “fair and reasonable and in the public interest.”
Motion at 1. However, as Judge Gorenstein discussed in Figueroa, the cases cited by the parties do not support that
this is the proper standard. Moreover, the cases the parties cite are inapposite to the instant action. See Figueroa, No.
18 Civ. 10491 (GWG), (S.D.N.Y. 2019), ECF No. 16. The SEC v. Citigroup Global Mkts., Inc. case involved “a

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                                                  DISCUSSION

         This Court has jurisdiction over the instant ADA dispute pursuant to 28 U.S.C. § 1331.

The Consent Decree falls within the scope of the pleadings. In the complaint, plaintiff alleges that

she was denied the opportunity to complete her purchase on defendant’s Website due to

accessibility issues. As defendant agrees to “take all Reasonable Efforts” to modify the Website

to conform with the Web Content Accessibility Guidelines, the Consent Decree falls directly

within the scope of the pleadings.

         The Consent Decree also furthers the objectives of the ADA. “Title III of the ADA provides

that ‘[n]o individual shall be discriminated against on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

place of public accommodation3[.]’” Andrews v. Blick Art Materials, LLC, 268 F. Supp. 3d 381,

387 (E.D.N.Y. 2017) (citing 42 U.S.C. § 12182(a) (emphasis omitted)). The Consent Decree

requires defendant to make Reasonable Efforts to modify the Website pursuant to the Web Content

Accessibility Guidelines, and in doing so, furthers the purpose of the ADA by striving to provide

vision impaired persons access to make purchases and learn about products and services on the

Website.




proposed consent judgment involving an enforcement agency.” 752 F.3d 285, 294 (2d Cir. 2014) The other two cases
cited by the parties, Yap v. Sumitomo Corp. of Am. and Meyer v. Macmillan Pub. Co., Inc., involved review of class
action settlements. Yap, No. 88 Civ. 700 (LBS), 1991 WL 29112, at *1 (S.D.N.Y. Feb. 22, 1991); Meyer, 95 F.R.D.
411, 412 (S.D.N.Y. 1986). This case does not involve an action brought by an enforcement agency or a class action
settlement. The parties shall take care to remove the inapposite language and case citations from future court filings.
3
  Defendant “denies that the Website is a place of public accommodation or that Defendant is otherwise subject to
Title III of the ADA, NYSHRL, and/or NYCHRL.” Consent Decree at 2. Although the Court recommends that the
Consent Decree be approved, nothing in the Court’s recommendation of granting the Consent Decree shall be
construed as a ruling on this issue. See Andrews, 268 F. Supp. 3d at 387–93 (discussing the varying interpretations
among courts on what constitutes a “place” of public accommodation under the ADA); see also Delacruz v.
Naturopathica Holistic Health Inc., No. 18 Civ. 7548 (KHP) (S.D.N.Y. Mar. 19, 2019), ECF No. 23 (approving
consent decree in an identical ADA case, but declining to address whether the underlying website constituted a “place
of public accommodation” under the ADA).

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        Furthermore, materially identical consent decrees have been approved in several ADA

website cases. Fischler v. Monica & Andy, Inc., No. 19 CV 1405 (WFK)(JO) (E.D.N.Y. 2019),

ECF No. 14; Fischler v. Greystar Worldwide LLC, No. 18 CV 4049 (VMS) (E.D.N.Y. 2018),

Electronic Order dated July 17, 2019; Crosson v. Simple Fin. Tech. Corp., No. 19 CV 2350

(DLI)(PK) (E.D.N.Y. 2019), Electronic Order dated July 12, 2019; Figueroa, Case No. 18 Civ.

10491 at ECF No. 16; see also Motion at 2 (citing cases).

        The Court recommends that the Consent Decree should be approved but modified as

follows: the Court should strike the “public interest” language in Proposed Finding No. 3. Consent

Decree at 11. Proposed Finding No. 3. should now read as follows: “Entry of this Consent Decree

complies with the standard set forth in the Court’s October 8, 2019 Report and Recommendation.”

Furthermore, Proposed Finding No. 5 that “[t]he Plaintiff is acting as a private attorney general in

bringing this Action and enforcing the ADA,” id. at 11, is irrelevant and should be stricken in its

entirety.

                                          CONCLUSION

        For the foregoing reasons, the Court respectfully recommends that the Consent Decree

should be approved as modified herein. If this Report and Recommendation is adopted, the Clerk

of Court should be directed to close this case.

            FILING OF OBJECTIONS TO REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil Procedure,

the parties shall have fourteen days from service of this Report to file written objections. See Fed.

R. Civ. P. 6. Such objections shall be filed with the Clerk of the Court. Any request for an extension

of time to file objections must be made within the fourteen-day period. Failure to file a timely

objection to this Report generally waives any further judicial review. Marcella v. Capital Dist.



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Physicians’ Health Plan, Inc., 293 F.3d 42 (2d Cir. 2002); Small v. Sec’y of Health and Human

Servs., 892 F.2d 15 (2d Cir. 1989); see Thomas v. Arn, 474 U.S. 140 (1985).

SO ORDERED.

                                                                        /S/             f
                                                          LOIS BLOOM
                                                          United States Magistrate Judge



Dated: October 8, 2019
       Brooklyn, New York




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